                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CASE NO. 1:14-CV-954

 STUDENTS FOR FAIR ADMISSIONS,                 )
 INC.,                                         )
                                               )
                              Plaintiffs,      )
                                               )   UNOPPOSED MOTION FOR
 v.                                            )   PARTIAL JUDGMENT ON THE
                                               )   PLEADINGS
 THE UNIVERSITY OF NORTH                       )
 CAROLINA AT CHAPEL HILL, et al.,              )
                                               )
                               Defendants.     )
                                               )
                                               )


       Defendants The University of North Carolina at Chapel Hill, et al. move for partial

judgment on the pleadings on Count III pursuant to Rule 12(c) of the Federal Rules of

Civil Procedure. As set forth in the Joint Motion Regarding Certain Pre-Trial Issues and

Request to Adjust Certain Briefing Deadlines, the parties previously sought the Court’s

guidance on the best way to effectuate a judgment on Count III that preserves SFFA’s

right of appellate review. (ECF No. 201 at 2.) In accordance with those representations

as well as the Court’s guidance from the April 14, 2020 conference, the UNC-Defendants

submit this unopposed motion. Plaintiff Students for Fair Admissions, Inc. does not

oppose this relief so long as it maintains full appellate rights with respect to Count III.

Student-Intervenors do not oppose this relief.




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                                 STATEMENT OF FACTS

       Through Count III, SFFA seeks to establish that existing, controlling Supreme

Court precedent was wrongly decided. As this Court recognized in its order on the

parties’ cross motions for summary judgment, SFFA “alleges that any use of race as a

factor in UNC’s admissions decisions violates federal law.” (ECF No. 190 at 25.)

Specifically, SFFA alleges that:

       The Supreme Court’s decisions holding that there is a compelling
       government interest in using race as a factor in admissions decisions in
       pursuit of “diversity” should be overruled. Those decisions were wrongly
       decided at the time they were issued, and they remain wrong today.
       “Diversity” is not an interest that could ever justify the use of racial
       preferences under the Fourteenth Amendment and federal civil rights laws.

(ECF No. 1 ⁋216.) The Complaint alleges (and the UNC-Defendants admit) that the

UNC-Defendants “acted under color of law” in developing and implementing the

University’s admissions system, even if SFFA contends that any use of race in

admissions allegedly denies its members equal protection of the laws in violation of the

Fourteenth Amendment and 42 U.S.C. § 1983 and § 2000d et seq. (Id. ⁋225.)1

                                         ARGUMENT

       Here, because the UNC -Defendants seek a final judgment on Count III pursuant

to Rule 12(c), “the standard should be the same as that for a motion for summary

judgment, since summary judgment also concerns the substance of the party’s claim.”

Connecticut Gen. Life Ins. Co. v. Feldman, No. CIV.A. WMN-14-03670, 2015 WL



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    Pursuant to the parties’ March 20, 2015 Joint Stipulation of Voluntary Dismissal, all of
    SFFA’s claims under Section 1981 were dismissed as to all Defendants. (ECF No. 29.)

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4064711, at *3 (D. Md. July 1, 2015), aff’d, 639 F. App’x 198 (4th Cir. 2016); see also

Smith v. McDonald, 562 F. Supp. 829, 842 (M.D.N.C. 1983), aff’d, 737 F.2d 427 (4th

Cir. 1984), aff’d, 472 U.S. 479, 105 S.Ct. 2787 (1985) (“The test applicable for judgment

on the pleadings is whether or not, when viewed in the light most favorable to the party

against whom the motion is made, genuine issues of material fact remain or whether the

case can be decided as a matter of law.”).

       There is no dispute that the University considers race as a factor within its

admissions process and therefore, the resolution of Count III does not involve any

questions of fact, including with regard to the specific role that race plays within the

University’s admission process or whether the University’s admissions practices comport

with controlling precedent. Thus, with no genuine issue of material fact to resolve, Count

III is ripe for resolution and can be decided as a matter of law. See High v. R & R

Transportation, Inc., 242 F. Supp. 3d 433, 438 (M.D.N.C. 2017) (Biggs, J.) (“Summary

judgment is appropriate when ‘there is no genuine dispute as to any material fact[.]”

(citing FRCP 56(a)).).

       The parties also agree that this Court cannot properly issue a declaratory judgment

overturning Supreme Court precedent. See e.g., Fisher-Borne v. Smith, 14 F. Supp. 3d

695, 698 (M.D.N.C. 2014) (setting forth the principles of stare decisis and collecting

cases in this district and the Fourth Circuit); Joyner v. Forsyth Cty., N.C., No. 1:07-CV-

243, 2009 WL 3787754, at *6 (M.D.N.C. Nov. 9, 2009), subsequently aff’d, 653 F.3d

341 (4th Cir. 2011), and subsequently vacated sub nom. Joyner v. Forsyth Cty., N. C.,

No. 1:07-CV-243, 2014 WL 12879756 (M.D.N.C. Nov. 21, 2014) (“In deciding whether

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Defendant’s invocation practice violates Plaintiffs’ rights under the Establishment

Clause, this Court is bound by precedent of the United States Supreme Court and the

Fourth Circuit Court of Appeals.”); Roth v. United States, No. 1:06-CV-172, 2009 WL

3698515, at *4 (N.D.W. Va. Nov. 2, 2009) (“[P]laintiff does not contest this as a legal

principle; however, he argues that the law should be otherwise. The Court is bound by

precedent, and therefore cannot oblige [plaintiff’s] request.”). Accordingly, the UNC-

Defendants respectfully request that the Court grant their motion and enter judgment in

their favor on Count III, while acknowledging that SFFA has preserved its right to appeal

on Count III. See, e.g., United States v. Crisp, 2015 WL 7288684, at *9 (W.D.N.C. Nov.

17, 2015) (“While acknowledging that the Defendant has preserved this issue for further

review, this Court is duty-bound to follow the Supreme Court’s precedent in Lewis and

overrule the Defendant’s argument on this final issue.”)

                                     CONCLUSION

       Because the resolution of Count III does not and will not turn upon the application

of any factual evidence under the existing, controlling legal framework, the UNC-

Defendants respectfully submit this unopposed request that the Court enter judgment in

their favor on Count III. SFFA retains all rights to seek appellate review on Count III.




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Respectfully submitted this 8th day of May, 2020.



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                             CERTIFICATE OF SERVICE

      I hereby certify that on May 8, 2020, I filed a true and correct copy of the

foregoing UNOPPOSED MOTION FOR PARTIAL JUDGMENT ON THE

PLEADINGS with the Clerk of Court using the CM/ECF system.



This 8th day of May, 2020.

                                                        /s/ Patrick Fitzgerald
                                                        Patrick Fitzgerald




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